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                                             Law Offices of David Carlebach
                                                55 Broadway, Suite 1902
                                                  New York NY 10005

                                                          212-785-3041
                                                     david@carlebachlaw.com

                                                                                                February 14, 2017

   Hon. Stuart M. Bernstein
   United States Bankruptcy Court
   Southern District of New York
   One Bowling Green
   New York, New York 10004


                                                           In Re: Silas Metro Holdings Corp.
                                                                  Ch. 11 case No. 16-40000-smb

   Dear	  Judge	  Bernstein:	  
   	  
   	           I	  write	  with	  respect	  to	  the	  Motions	  and	  Initial	  Status	  Conference	  on	  this	  
   mornings	  calendar	  in	  the	  above	  referenced	  case.	  	  The	  Debtor	  has	  no	  objection	  to	  the	  
   relief	  sought	  in	  the	  Motions	  and	  has	  not	  interposed	  opposition	  in	  that	  regard.	  	  
   Except	  that	  the	  Debtor	  respectfully	  requests	  that	  the	  automatic	  14	  day	  stay	  
   provided	  by	  Bankruptcy	  Rule	  4001(a)(1)	  not	  be	  waived	  in	  order	  for	  the	  Debtor	  to	  
   have	  sufficient	  time	  to	  seek	  appropriate	  relief	  in	  State	  Court.	  
   	  
                This	  case	  is	  very	  similar	  procedurally	  to	  the	  related	  Three	  Amigos	  case	  
   whereby,	  the	  State	  Court,	  without	  trial,	  vacated	  the	  Debtor’s	  deed	  to	  valuable	  real	  
   estate	  based	  on	  fraud	  like	  arguments,	  despite	  the	  Debtor	  having	  obtained	  
   representations	  of	  counsel	  that	  the	  seller	  had	  the	  authority	  to	  sell	  the	  property	  in	  
   question.	  	  The	  debtor	  believes	  that	  upon	  appellate	  review,	  at	  a	  minimum	  the	  matter	  
   will	  be	  remanded	  back	  for	  trial	  for	  further	  findings	  of	  fact.	  
                	  
                The	  Debtor	  has	  not	  yet	  filed	  schedules,	  been	  examined	  or	  filed	  any	  MOR’s.	  	  In	  
   that	  regard	  the	  Debtor	  intends	  on	  moving	  for	  dismissal	  of	  the	  case.	  	  The	  Debtor	  will	  
   remedy	  the	  above	  referenced	  deficiencies	  prior	  thereto	  as	  well	  as	  pay	  any	  
   outstanding	  Trustee	  fees.	  	  	  
                	  
                I	  will	  be	  unable	  to	  attend	  today’s	  hearing	  due	  to	  some	  exigent	  personal	  
   circumstances	  and	  apologize	  to	  the	  Court	  in	  that	  regard.	  
                	  
                	            	        	            	        	        	        	           Respectfully,	  
                	  
                	            	        	            	        	        	        	           s/David	  Carlebach	  
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